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                       BEFORE THE UNITED STATES JUDICIAL PANEL
                            ON MULTIDISTRICT LITIGATION


IN RE: HOTEL BOOKING ACCESS FOR                            MDL DOCKET NUMBER: 2978
       INDIVIDUALS WITH DISABILITIES

                                       PROOF OF SERVICE

       In compliance with Rule 4.1(a) of the Rules of Procedure for the United States Judicial Panel on
Multidistrict Litigation, I hereby certify that copies of the Notice of Related Actions and Schedule of
Actions, Certificate of Service, along with the Motion to Transfer and Brief in Support were served by
Email or First Class Mail on November 24, 2020, to the following:

Clerks of Court served by First Class Mail:

Clerk of Court
Southern District of Illinois
750 Missouri Avenue
East St. Louis, IL 62201

Clerk of Court
District of Maryland
101 West Lombard Street
Baltimore, MD 21201

Clerk of Court
Western District of New York
2 Niagara Square
Buffalo, NY 14202



Clerk of Court
Middle District of Pennsylvania
228 Walnut Street
Harrisburg PA 17101

Clerk of Court
Western District of Pennsylvania
700 Grant Street
Pittsburgh PA 15219

Parties:

Deborah Laufer v. Mahakali Inc., 3:20-cv-01163 (S. Ill.)

Counsel for Plaintiff served by email:              Unrepresented served via First Class Mail:
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Deborah Laufer v. Jai Shiv Shakti Inc., 3:20-cv-01164 (S. Ill.)

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Deborah Laufer v. BWI Hotel Holding II LLC, 1:20-cv-03250 (Md.)

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Deborah Laufer v. Akshar Corporation, 1:20-cv-3251 (Md.)

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Deborah Laufer v. VASU Inc., 1:20-cv-03264 (Md.)

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Deborah Laufer v. Patel Hiteshbhai, 1:20-cv-03265 (Md.)
             Case MDL No. 2978 Document 43-14 Filed 11/24/20 Page 3 of 4



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Deborah Laufer v. Katha Inc., 6:20-cv-6978 (W. NY)

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Deborah Laufer v. Stuart Henry and Carol Henry, 6:20-cv-6984 (W. NY)

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Deborah Laufer v. Rajul Corporation, 1:20-cv-2025 (M.Pa.)


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Deborah Laufer v. Vishva Corporation, 4:20-cv-2026 (M.Pa.)


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Deborah Laufer v. George and Edward Lavalle, 1:20-cv-00321 (W.Pa.)

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Deborah Laufer v. Omshiva Hospitality LLC, 2:20-cv-01731 (W.Pa.)

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                                                 Respectfully submitted,

                                                 HOTELS AND STUFF INC.

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                                                 COUNSEL FOR MOVANT
